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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA
                                   PITTSBURGH

ANDREW KING,                                    )
                                                )
                Plaintiff,                      )
                                                )
        vs.                                     )                      2:19cv992
                                                )                   Electronic Filing
ARRESTING   OFFICER   VINCENT                   )
DICENZOIII,      COUNTY    OF                   )
ALLEGHENY, NORTH VERSAILLES                     )
TOWNSHIP,                                       )
                                                )
                Defendants,

                                    ORDER OF COURT

       AND NOW, this 15th day of October, 2021, upon due consideration of defendant

Allegheny County’s motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6), and

after de novo review of the record, IT IS ORDERED that [66] the motion be, and the same

hereby is, GRANTED. The County of Allegheny is dismissed from this case with prejudice.

The [71] Magistrate Judge’s Report and Recommendation of September 8, 2021, is adopted as

the opinion of the court.



                                                    s/David Stewart Cercone
                                                    David Stewart Cercone
                                                    Senior United States District Judge



cc:    Louis K. Kroeck, IV, Esquire
       Dennis R. Biondo, Jr., Esquire
       Charles H. Saul, Esquire
       Kyle T. McGee, Esquire

       (Via CM/ECF Electronic Mail)
